        Case 2:14-cr-00103-GMN-VCF        Document 242      Filed 10/13/15   Page 1 of 2




 1                              UNITED STATES DISTRICT COURT
 2                                     DISTRICT OF NEVADA
 3
     UNITED STATES OF AMERICA,                 )
 4
                                               )
 5                       Plaintiff,            )   Case No.: 2:14-cr-00103-GMN-VCF-4
           vs.                                 )
 6                                             )
     HECTOR FERNANDO                           )
 7                                                 ORDER ACCEPTING REPORT &
       ZAMBRANO-REYES,                         )
 8
                                               )   RECOMMENDATION OF MAGISTRATE
                         Defendant.            )   JUDGE CAM FERENBACH
 9

10
           Before the Court for consideration is the Report and Recommendation (ECF No. 235) of
11
     the Honorable Cam Ferenbach, United States Magistrate Judge, entered September 15, 2015.
12
           Pursuant to Local Rule IB 3-2(a), objections were due by October 2, 2015. No objections
13
     have been filed. In accordance with 28 U.S.C. § 636(b)(1) and Local Rule IB 1-4, the Court has
14
     reviewed the record in this case and has determined that Magistrate Judge Cam Ferenbach’s
15
     Recommendation should be accepted.
16
           IT IS THEREFORE ORDERED that the Report and Recommendation (ECF No. 235)
17
     is ACCEPTED.
18
           IT IS FURTHER ORDERED that the Motion for Relief from Prejudicial Joinder of
19
     Defendants (ECF No. 179) is GRANTED and the trial of Hector Fernando Zambrano-Reyes is
20
     hereby SEVERED from the trial of the codefendants.
21
           IT IS FURTHER ORDERED that the Calendar Call as to Hector Fernando Zambrano-
22
     Reyes shall be held on Tuesday, January 19, 2016 at 9:00 a.m. in Las Vegas Courtroom 7D
23
     before Chief Judge Gloria M. Navarro.
24

25
        Case 2:14-cr-00103-GMN-VCF           Document 242       Filed 10/13/15     Page 2 of 2




 1          IT IS FURTHER ORDERED that the Trial as to Hector Fernando Zambrano-Reyes
 2   shall be held on Monday, January 25, 2016 at 8:30 a.m. in Las Vegas Courtroom 7D before Chief
 3   Judge Gloria M. Navarro.
 4          IT IS FURTHER ORDERED that the parties shall file their proposed jury instructions,
 5   proposed voir dire, trial briefs, and exhibit lists with the Clerk of Court no later than 4:00 p.m. on
 6   Thursday, January 14, 2016.
 7

 8                       13 day of October, 2015.
            DATED this _____

 9

10
                                                    ________________________________
11                                                  Gloria M. Navarro, Chief Judge
12
                                                    United States District Court

13

14

15

16

17

18

19

20

21

22

23

24

25
